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                                          #:1296
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                           UNITED STATES DISTRICT COURT
  8
                          CENTRAL DISTRICT OF CALIFORNIA
  9
  10 GARY L FAULK , et al.                         CASE NO: 2:23−cv−05132−MWF−RAO

                     Plaintiff(s),                 ORDER SETTING SCHEDULING
  11                                               CONFERENCE
  12         v.                    Date:                        August 7, 2023
                                   Time:                        11:00 a.m.
  13 GENERAL ELECTRIC COMPANY , et Courtroom:                   5A
       al.
  14
  15                Defendant(s).
  16
  17
  18                   READ THIS ORDER CAREFULLY. IT DIFFERS IN

  19                     SOME RESPECTS FROM THE LOCAL RULES.

  20         This case has been assigned to Judge Michael W. Fitzgerald. This matter is set

  21    for a scheduling conference on the above date. If plaintiff has not already served

  22    the operative complaint on all defendants, plaintiff promptly shall do so and shall

  23    file proofs of service within three days thereafter. Defendants also timely shall

  24    serve and file their responsive pleadings and file proofs of service within three

  25    days thereafter. At the scheduling conference, the Court will set a date by which

  26    motions to amend the pleadings or add parties must be heard.

  27         The conference will be held pursuant to Rule 16(b) of the Federal Rules of

  28    Civil Procedure. The parties are reminded of their obligations under Rule 26(a)(1)


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  1    to disclose information (without awaiting a discovery request), and under Rule

  2    26(f) to confer on a discovery plan not later than 21 days before the scheduling

  3    conference and to e-file a “Joint Rule 26(f) Report” with the Court not later than 14

  4    days before the conference. Mandatory paper chambers copies of the Joint Rule

  5    26(f) Report must be delivered to Judge Fitzgerald’s drop box located outside of

  6    the Deputy Clerk’s office, on the fourth floor of the courthouse, 350 West 1st

  7    Street, by12:00 p.m. (noon) on the first court day after the e-filing.

  8         The Court encourages counsel to agree to begin to conduct discovery actively

  9    before the Scheduling Conference. At the very least, the parties shall comply fully

  10   with the letter and spirit of Rule 26(a) and thereby obtain and produce most of what

  11   would be produced in the early stage of discovery, because at the Scheduling

  12   Conference the Court will impose strict deadlines to complete discovery.

  13        This Court does not exempt parties appearing in propria persona from

  14   compliance with any of the Local Rules, including Local Rule 16.

  15   “Counsel,” as used in this order, includes parties appearing in propria

  16   persona.

  17        1.     Joint Rule 26(f) Report

  18        The Joint Rule 26(f) Report, which shall be filed not later than 14 days

  19   before the scheduling conference, shall be drafted by plaintiff (unless the parties

  20   agree otherwise), but shall be submitted and signed jointly. “Jointly” contemplates

  21   a single report, regardless of how many separately-represented parties there are.

  22   The Joint Rule 26(f) Report shall specify the date of the scheduling conference

  23   on the caption page. It shall report on all matters described below, which include

  24   those required to be discussed by Rule 26(f) and Local Rule 26:

  25        a.     Statement of the Case: A short synopsis (not to exceed two pages)

  26              of the main claims, counterclaims and affirmative defenses.

  27        b.     Subject Matter Jurisdiction: A statement of the specific basis of

  28              federal jurisdiction, including supplemental jurisdiction.


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  1          c.    Legal Issues: A brief description of the key legal issues, including

  2               any unusual substantive, procedural or evidentiary issues.

  3          d.    Parties, Evidence, etc.: A list of parties, percipient witnesses and

  4               key documents on the main issues in the case. For conflict purposes,

  5               corporate parties must identify all subsidiaries, parents and affiliates.

  6          e.    Damages: The realistic range of provable damages.

  7          f.   Insurance: Whether there is insurance coverage, the extent of coverage

  8               and whether there is a reservation of rights.

  9          g.    Motions: A statement of the likelihood of motions seeking to add

  10              other parties or claims, file amended pleadings, transfer venue, etc.

  11         h.    Manual for Complex Litigation: Whether all or part of the procedures

  12              of the Manual for Complex Litigation should be utilized.

  13         i.   Status of Discovery: A discussion of the present state of discovery,

  14              including a summary of completed discovery.

  15         j.   Discovery Plan: A detailed discovery plan, as contemplated by Rule

  16              26(f). State what, if any, changes in the disclosures under Rule 26(a)

  17              should be made, the subjects on which discovery may be needed and

  18              whether discovery should be conducted in phases or otherwise be

  19              limited, whether applicable limitations should be changed or other

  20              limitations imposed, and whether the Court should enter other orders.

  21              A statement that discovery will be conducted as to all claims and

  22              defenses, or other vague description, is not acceptable.

  23         k.    Discovery Cut-off: A proposed discovery cut-off date. N.B. This

  24              means the final day for completion of discovery, including resolution

  25              of all discovery motions.

  26         l.   Expert Discovery: Proposed dates for expert witness disclosures

  27              (initial and rebuttal) and expert discovery cut-off under Rule 26(a)(2).

  28   ///


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  1        m.    Dispositive Motions: A description of the issues or claims that any

  2             party believes may be determined by motion for summary judgment

  3             or motion in limine.

  4        n.   Settlement/Alternative Dispute Resolution (ADR): A statement of
                what settlement discussions or written communications have occurred
  5
                (excluding any statement of the terms discussed). If counsel have
  6
                received a Notice to Parties of Court-Directed ADR Program (Form
  7
                ADR-08), the case presumptively will be referred to the Court
  8
                Mediation Panel or private mediation (at the parties’ expense). If the
  9
                parties jointly desire a settlement conference with the assigned
  10
                magistrate judge, they should so indicate in their report and the matter
  11
                will be discussed at the scheduling conference. No case will proceed
  12
                to trial unless all parties, including an officer (with full authority to
  13
                settle the case) of all corporate parties, have appeared personally at an
  14
                ADR proceeding.
  15
           o.   Trial Estimate: A realistic estimate of the time required for trial and
  16
                whether trial will be by jury or by court. Each side should specify
  17
                (by number, not by name) how many witnesses it contemplates calling.
  18
                If the time estimate for trial given in the Joint Rule 26(f) Report
  19
                exceeds four court days, counsel shall be prepared to discuss in detail
  20
                the estimate.
  21
           p.   Trial Counsel: The name(s) of the attorney(s) who will try the case.
  22
           q.   Independent Expert or Master: Whether this is a case where the
  23
                Court should consider appointing a master pursuant to Rule 53 or an
  24
                independent scientific expert. (The appointment of a master may be
  25
                especially appropriate if there are likely to be substantial discovery
  26
                disputes, numerous claims to be construed in connection with a
  27
                summary judgment motion, a lengthy Daubert hearing, a resolution
  28


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  1             of a difficult computation of damages, etc.).

  2        r.   Timetable: Complete the Schedule of Pretrial and Trial Dates

  3             form attached as Exhibit A to this Order and attach it to the

  4             Joint Rule 26(f) Report. The entries in the “Weeks Before Trial”

  5             column reflect what the Court believes are appropriate for most cases

  6             and will allow the Court to rule on potentially dispositive motions

  7             sufficiently in advance of the pretrial conference. The form is designed

  8             to enable counsel to ask the Court to set different (earlier) last dates

  9             by which the key requirements must be completed. Each side should

  10            write in the month, day, and year it requests for each event. E.g., for

  11            the expert discovery cut-off it might be “10/15/12” for plaintiff and

  12            “10/29/12” for defendant, if they cannot agree. At the conference, the

  13            Court will review this form with counsel. Each entry proposing Court

  14            dates shall fall on a Monday, except the trial date, which is a Tuesday.

  15            Counsel should insure that requested dates do not fall on a holiday.

  16            In appropriate cases the Court will order different dates after it hears

  17            from counsel. The discovery cut-off date is the last day by which all

  18            depositions must be completed, responses to previously-served

  19            written discovery must be provided, and motions concerning discovery

  20            disputes must be heard. The cut-off date for motions is the last date

  21            on which motions may be heard, not filed. The Court is not likely to

  22            continue this date and will not do so unless the trial date also is

  23            continued.

  24       s.   Other issues: A statement of any other issues affecting the status or

  25            management of the case (e.g., unusually complicated technical or

  26            technological issues, disputes over protective orders, extraordinarily

  27            voluminous document production, non-English speaking witnesses,

  28            ADA-related issues, discovery in foreign jurisdictions, etc.) and any


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  1               proposals concerning severance, bifurcation, or other ordering of

  2               proof.

  3          The Joint Rule 26(f) Report should set forth the above-described information

  4    under section headings corresponding to those in this Order.

  5          2.     Scheduling Conference

  6          Scheduling conferences will be held in Courtroom 5A, 350 West 1st Street.

  7    Counsel shall comply with the following:

  8          a.     Participation: Although the Court would prefer lead trial attorney’s

  9               attendance at the scheduling conference, it is not required.

  10              However, if lead trial counsel does not attend, any attorney appearing

  11               on his or her behalf must be prepared to discuss the case and

  12              authorized to address scheduling with the Court and opposing

  13              counsel.

  14         b.     Continuance: A continuance of the scheduling conference will be

  15               granted only for good cause.

  16         3.     Notice to be Provided by Counsel

  17         Plaintiff’s counsel or, if plaintiff is appearing pro se, defendant’s counsel,

  18   shall provide this Order to any parties who first appear after the date of this Order

  19   and to parties who are known to exist but have not yet entered appearances.

  20         4.     Disclosures to Clients

  21         Counsel are ordered to deliver to their respective clients a copy of this

  22   Order and of the Court’s trial order, which will contain the schedule that the

  23   Court sets at the scheduling conference.

  24         5.     Court’s Website

  25         Copies of this and all other orders of this Court that may become

  26   applicable to this case are available on the Central District of California website,

  27   at www.cacd.uscourts.gov, under “Judge’s Procedures and Schedules.” Copies

  28   ///


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  1     of the Local Rules are available on the website.1

  2
  3           The Court thanks the parties and their counsel for their anticipated

  4     cooperation in complying with these requirements.

  5
             IT IS SO ORDERED.
  6
  7    Dated: July 7, 2023
  8
                                                       MICHAEL W. FITZGERALD
  9                                                    United States District Judge
  10
  11
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        1   They may also be purchased from one of the following:
  26
         Los Angeles Daily Journal West Publishing Company Metropolitan News
  27     915 East First Street     50 West Kellogg Blvd.   210 South Spring Street
         Los Angeles, CA 90012     St. Paul, MN 55164−9979 Los Angeles, CA 90012
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                                                     #:1303 W. FITZGERALD
                                               JUDGE MICHAEL
                                SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET

  Case No.


  Case Name


                                 Matter                                 Plaintiff(s)’ Date   Defendant(s)’ Date       Court Order
                                                                         mo / day / year      mo / day / year
  [ ] Jury Trial or [ ] Court Trial
  (Tuesday at 8:30 a.m.)
                          Duration Estimate:            Days

  Final Pretrial Conference [LR 16] and Hearing on Motions
  In Limine
  (Monday at 11:00 a.m. -- three (3) weeks before trial date)
  Motions In Limine must be filed three (3) weeks before this date;
  oppositions are due two (2) weeks before this date; no reply
  briefs.


                         Event                             Weeks        Plaintiff(s)’ Date   Defendant(s)’ Date       Court Order
                                                         Before Trial    mo / day / year      mo / day / year

  Last Date to Hear Motion to Amend Pleadings /
  Add Parties

  Non-Expert Discovery Cut-Off (at least 4 weeks               18
  before last date to hear motions)

  Expert Disclosure (Initial)


  Expert Disclosure (Rebuttal)


  Expert Discovery Cut-Off                                     14 *


  Last Date to Hear Motions (Monday at 10:00 a.m.)             14


  Last Date to Conduct Settlement Conference                   12

  For Jury Trial
   • File Memorandum of Contentions of Fact and
     Law, LR 16-4                                              6
   • File Exhibit and Witness Lists, LR 16-5.6
   • File Status Report Regarding Settlement
   • File Motions In Limine

  For Jury Trial
   • Lodge Pretrial Conference Order, LR 16-7
   • File Agreed Set of Jury Instructions and Verdict
     Forms                                                     5
   • File Statement Regarding Disputed Instructions,
     Verdicts, etc.
   • File Oppositions to Motions In Limine

  For Court Trial
   • Lodge Findings of Fact and Conclusions of Law,            3
     LR 52, and Summaries of Direct Testimony

  * The parties may choose to cut off expert discovery prior to MSJ briefing.
                                                  ADR [LR 16-15] Selection:

           Attorney Settlement Officer Panel            Private Mediation         Magistrate Judge (with Court approval)



                                                               EXHIBIT A
